      Case 3:14-cr-00340-KIN THE
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                                FOR THE NORTHERN DISTRICT OF TEIS                        NORT~~:);·< ')1·.~. --_   T \..)1 1L-"
                                          DALLAS DIVISION                                           h_f~IL,f.D
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UNITED STATES OF AMERICA                                  §
                                                          §                                        OCT I 0 2017
vs.                                                       §                                    .. 3: 14-CR-340-K ( 0)
                                                          §
MICHAEL CORNELIOUS                                        §                           · • ~ U.S.?ff!Jcr COURT
                                                                                              Depu
                                      REPORT AND RECOMMENDATION
                                       CONCERNING PLEA OF GUILTY

         MICHAEL CORNELIOUS, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1 of the 2
Count Third Superseding Indictment, filed on February 2, 2016. After cautioning and examining Defendant
Michael Cornelious under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea
was knowledgeable and voluntary and that the offense charged is supported by an independent basis in fact containing
each of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted, and that
Defendant Michael Cornelious, be adjudged guilty of Conspiracy to Interfere With Commerce by Robbery, in
violation of 18 USC§ 1951(a), and have sentence imposed accordingly. After being found guilty of the offense by
the district judge,


/ T h e defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U .S.C. § 3143(a)( 1) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       Ifthe Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U .S.C. § 3143(a)(2) unless ( 1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        Signed October I 0, 20 I 7.

                                                          IRMA C. RAMIREZ
                                                          UNITED STATES MAGISTRATE

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
